Case

8:15-cV-02063-DOC-DFI\/| Document 120 Filed 01/16/18 Page 1 of 2 Page |D #:1848

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Attorneys for Plaintiff and Counterdefendant

GRUl\/[PY CAT LIMITED

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT ()F CALIFORNIA, SOUTHERN DIVISION

GRU1\/[PY CAT LIMITED, an Ohio
Limited Liability Entity,

Plaintiff,
Vs.

GRENADE BEVERAGE LLC, a
California Lirnited Liability Company;
PAUL SANDFORD, an individual;
NICK SANDFORD, an individual; and
DOES 1-50,

Defendants.

 

PAUL SANDFORD, an individual;
NICK SANDFORD, an individual; and
GRUMPY BEVERAGE, LLC, a TeXas
Limited Liability Company,

Counterclairnants,
vs.

GRU]\/[PY CAT LIMITED, an Ohio
Limited Liability Entity; and RGES 1-5,

Counterdefendants.

 

 

 

 

Case NO: 81 15-cV-02063-DOC-DFM

NOTICE OF LODGING
DEPOSITION TRANSCRIPT
OF KIA KAMRAN

Case flled: December 11, 2015

FPTC: December 18, 2017

8 :3()am
Trial date: January 16, 2018
Judge: Hon. David O. Carter

 

NOTICE OF L()DGING DEPO TRANSCRIPT OF KIA KAMRAN

 

 

 

 

Case 8:15-cV-O2063-DOC-DFI\/| Document 120 Filed 01/16/18 Page 2 of 2 Page |D #:1849
1 T() THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD
2 HEREIN:

3 PLEASE TAKE NOTICE that Plaintiff GRUMPY CAT LIMITED hereby
4 lodges the transcript of the deposition of Kia Kamran, taken January 4, 2018.
5
6
7 Respectfully submitted,
8 Dated: January 16, 2018 LAVELY & SINGER
9
10 By: /s/ David B. Jonelis
David B. Jonelis, Es .
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14 Attomeys for Piaintiff and
1 5 Counterdefendant
GRUMPY CAT LIMITED
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NOTICE OF LODGING DEPO TRANSCRIPT OF KIA KAMRAN

 

 

 

